














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-605-07





HECTOR MALDONADO, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE EIGHTH COURT OF APPEALS

ANDREWS COUNTY





Per curiam.  Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i), 
because the petition does not contain a complete copy of the opinion of the court of
appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Filed: September 26, 2007

Do Not Publish


